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Case 1:03-md-01570-GBD-SN Document 56-3 Filed 03/19/04 Page 1 of 5

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
IN RE TERRORIST ATTACKS ON

| SEPTEMBER 11, 2001 | MDL Ne. 1870 (RCC)
This doeanient Flats is TO —

: THOMAS RURNETT, et al, | 2 CV 1616

| ¥. |

| AL BARAKA INVESTENT & |

| DEVELOPMENT CORP , ctal |

DECLARATION OF SALEH BIN ABDALLAL| ALSAIKHAN
IN SUPPORT OF VEFENDANT INTERNATIONAL ISLAMIC
RELIEF ORGANIZATIONS
MOTION TO DISMISS THE THIRD AMENDED COMPLAINT

mh THE NAME. GF GOD, THE MERCIVUL, THE COMPASSTONATE, T Saleh
Bin Abdallah Alsaikhan, stale as follows:

|. Tam the Director of Financial Administration of the International Islamic
Relief Organization of Saudi Arabia (TIROSA™) and I subrnil chis declaration in my
professional capacity as the Director of Kinancial Administration of ROSA and in
comnection with the motion to dismiss the complaint against TIROSA as a named
defendant in lhe above-referenced action. TI make this affidavit based on my personal
knowledge and the docuinents and recotds in my possession.

4 | have served as IROSA’s Cirector of Financial Administration at the TROSA
office in Jeddah, Saudi Arabia, Hael Street, Ruwais District, since December 14, 2002.
Prior to joining ROSA, | worked al Saudi Aramco, a large petroleum compaly, for
more than 10 years. [hold a degree in accounting from King Abdul Agiz University i

Jeddah, Saudi Arabia. Ny responsibilities as the Director of Kinancial Adrunistration or
Case 1:03-md-01570-GBD-SN Document 56-3 Filed 03/19/04 Page 2 of 5

LIROSA include overseeing the finance department, administering budget items.
revenues. and expenditures, and working closely with UROSA management Lo cnsure the
integrity of ROSA’s finances mm connection with the adnunialratian of IROSA’s
international humanitarian relief and development programs.

3. ROSA is a nongovernmental charitable organization eslablished pursuant to a
resolution passed by the conslituent assembly of the Muslim World League (*MW1.") in
1978. Itis headquartered in Makkah, Saudi Arabia. with admuustrative aflices in
Jeddah. Saudi Arabia, Pursuant to TROSA’s Constitution, it “has a legal personality and
an administrative and financial entity of its awn, within the [ramework of its constitution
and bylaws.” TIROSA provides direct assistance Lo victims of natural disasters and wars.
ITROSA also spansors health, educalion, and social welfare projects including the
construction and administration of hospitals, clinics, nutrition centers, schools, masques,
and orphanages.

4. Currently, ROSA is governed by a 24-member beard of directors chaired by
the Secretary General ofthe MWL. The Secretary General of the MWL serves as
HiROSA’s board chair pursuant to the Constitution of ROSA, but he provides no inpul
whatsoever on Lie day-to-day operations of IROSA. The organizational structure of
{ROSA as set forth in its Constitution establishes that the Secretary General of the hMWL
presides over the General Assembly meetings which take place every two years.

§ LIROSA is a separate lezal entity fram the MWI. ILRLOSA maintains its own
capitalization, operations, governance, personnel, bank accounts, and offices. IIROSA
has 16 main regional offices and over 55 sub-regional offices in the Kingdom of Saudi

Arabia. In addition, HROSA carries aut its humanitarian relief work and international

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Case 1:03-md-01570-GBD-SN Document 56-3 Filed 03/19/04 Page 3 of 5

development assistance programs in over 120 coumtries through its 29 foreign offices.
The foreign offices serve the countries in which they are located and, in some cases. they
serve neighboring countnes with the cooperation of local nongovernmental orgamizatians
working on the ground in those neighboring countries. To carry out its humanitarian
relief work in the wake of natural disasters, ROSA establishes temporary relicf centers.
Accordingly, IROSA's humanitarian assistance is provided in many more countries than
the ones in which it maintains a foreign office.

6. According to its Constilution, TROSA’s revenues are derived from a number
of snurces, including individual and corporate weltare donors who designate the
beneliciary of the donation, ¢.g.. an orphan, a student, or a mosque. The designated
beneficiary must be consistent wilh UROSA’s mission. [n addition, IROSA’s revenues
include donations, grants, bequests, contnbutions [rom international instituvons and the
covernment of the Royal Kingdom of Saudi Arabia, and dividends (rom invesiments,
among other sources. Asa nongovernmental charitable organizalion under the laws of
the Royal Kinedom of Saudi Arama, ROSA comports with domestic regulations
resardiny its financial records and accounhng practices. [ROSA maintains strict internal
aceounting and financial controls over is local and foreign offices to ensure that TROSA
funds are expended properly to carry out Hi ROSA’s chantable functions.

7. JROSA operates as a legitimate charitable entity and has na cannecnon to
tcrrovism }=TLROSA has never espoused terronsm and has never encouraged or assisted
terrorists or terrorist acts. TTROSA has never knowingly or intentionally financed

fecrorlst “ctivilics.

“ad
Case 1:03-md-01570-GBD-SN Document 56-3 Filed 03/19/04 Page 4 of 5

8 MROSA maintains no physical presence in the United States, be. , MROSA
currently has no oflice in the LS. and ROSA carries out no program-related work in
the U.S. TIROSA neither solicits nor receives funding [rom any individuals or entities in
the LLS. (TROSA does not (a) maintain an office or bank accounts in the U.8.; or (hb)
engape in fundraising activities or a public relations campaign in the LS.

9, ROSA operates under the broad organizational umbrella of the MWL and
camies out Lhe humanitarian relief operations as well a3 health, education. development,
social, and cconomic wellare programs, however, WROSA is not the agent or aller ego of
the MWL. 1IROSA and MWi. exist and operate as separate leval and corporate cnuuics
under the laws of the Royal Kingdom of Saudi Arabia. Although TROSA and MWL
occupy the same office space in a number of foreign offices and, on occasion, employ
one manager to carry out the work of ITROSA and MW'L in that foreign office, the costs
of the office space and personnel are allocated between IIROSA and MWL ta reflect each
entity’ S USaae,

10. In addition, ROSA and an entity known as the Islamic Relief Organization
based in Herndon, Virginia, are separate legal entities I am informed by counsel for
IIRQSA that public documents in the U.S. demonstrate that the Islamic Relief
Organization ceased operations and was digsolved initially in 1998 and, afler a brief
reinstatement. finally dissolved as 4 corporate entity as of December 2002.

11. At all times relevant herein, ROSA has maintained itself as an independent
organization with operations, books, and records, completely separate and apart from the

VWI. and the now defunct Islamic Reliel Organization
Case 1:03-md-01570-GBD-SN Document 56-3 Filed 03/19/04 Page 5of5

12. Finally, JROSA and the U $.-based Success Foundation are separate lcpal
entities. At all times relevant herein, TROSA has maintained itself as an independent
organization with operations, books, and records, completely separate and apart from the
Success Foundation. WROSA is and abvays has been responsible for Ws Owl
capitalization and management of assets wholly separate and apart Irom the Success
Foundation.

I declare under penalty of perjury under the laws of the United Slates of America

that the foregoing is true and correct. Executed on this _ — af March, 2004,

Keey po

SALEH BIN ABDALLAIL A iN

Notary Public

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